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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF OHIO

 
 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) IN Dt
Plaintiff, ) CASE NO. .
) 2 é fi pe eae fr
} super JUDGE PEARSON
Vv,
) .
RYAN D. MALONE, ) Title 18, Sections 922(g)(1} and
VIRGIL COOPER, ) 924(a)(2), United States Code
)
Defendants. )
)
COUNT 1
The Grand Jury charges:

On ot about November 4, 2014, in the Northern District of Ohio, Eastern Division,
Defendant RYAN D. MALONE, having been previously convicted of crimes punishable by
imprisonment for a term exceeding one year, those being: Felon in Possession of a Firearm, in
Case Number 1:06CR306, in the U.S. District Court, Northern District of Ohio, on or about
January 3, 2007; and, Drug Trafficking with Schoolyard and Firearm Specifications, in Case
Number CR-06-483164, in the Cuyahoga County Court of Common Pleas, on or about January
5, 2007, did knowingly possess in and affecting interstate commerce a firearm, to wit: a Glock,

model 19, 9mm semi-automatic pistol, serial number FZR569, and ammunition, said firearm and
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ammunition having been shipped in interstate or foreign commerce, in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT 2

The Grand Jury further charges:

On. or about November 4, 2014, in the Northern District of Ohio, Eastern Division,
Defendant VIRGIL COOPER, having been previously convicted of crimes punishable by
imprisonment for a term exceeding one year, those being: Rape, in Case Number CR-03-443136,
in the Cuyahoga County Court of Common Pleas, on or about March 24, 2004; and, Burglary
and Felonious Assault with Firearrn Specification, in Case Number CR-00-397637, in the
Cuyahoga County Court of Common Pleas, on or about December 22, 2000, did knowingly
possess in and affecting interstate commerce a firearm, to wit: a Fabrinor pistol, model
Firestorm, .45 caliber semi-automatic pistol, serial number obliterated, and ammunition, said
firearm and ammunition having been shipped in interstate or foreign commerce, in violation of

Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

A TRUE BILL.

Original Document - - Signatures on file with the Clerk of Courts, pursuant to the E-Government
Act of 2002.
